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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION



 JASON D. PETTY,

                       Plaintiff,
                                                           Case No. 20-cv-5075
 v.
                                                           CLASS ACTION
 SIGNATURE HEALTHCARE SERVICES,
 LLC d/b/a AURORA-CHICAGO
 LAKESHORE HOSPITAL, a Michigan
 limited liability company,

                       Defendant.


   DEFENDANT SIGNATURE HEALTHCARE SERVICES, LLC d/b/a AURORA-
 CHICAGO LAKESHORE HOSPITAL’S MEMORANDUM OF LAW IN SUPPORT OF
        ITS MOTION TO DISMISS AND TO COMPEL ARBITRATION

       Defendant Signature Healthcare Services, LLC d/b/a/ Aurora-Chicago Lakeshore Hospital

(“Signature”), by its attorneys, submits the following Memorandum of Law in Support of its

Motion to Dismiss and to Compel Arbitration pursuant to the Federal Arbitration Act, 9 U.S.C. §

1, et seq. and Federal Rule of Civil Procedure 12(b)(3).

                              I. INTRODUCTION AND FACTS

       Plaintiff’s class action lawsuit should be dismissed and sent to arbitration because Plaintiff

expressly agreed to arbitrate all claims arising from his employment with Signature when he

executed a valid and enforceable arbitration agreement (“Arbitration Agreement”), which covers

the claims Plaintiff makes in the instant court proceedings. The Arbitration Agreement provides

that either party may bring an action in any court of competent jurisdiction to compel arbitration

under the Arbitration Agreement. It also contains a class action waiver. Signature respectfully



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requests this Court enter an order compelling Plaintiff to arbitrate his individual claim against

Signature per the terms of the Arbitration Agreement and dismissing the instant lawsuit with

prejudice or, in the alternative, staying it pending the outcome of arbitration. The Court also should

declare, pursuant to the agreement of the parties, that Plaintiff cannot proceed with a class,

collective or representative action in any forum.

       A.      Procedural History and Plaintiff’s Allegations in his Class Action Complaint

       On April 29, 2020, Plaintiff Jason D. Petty (“Plaintiff”) filed a Class Action Complaint

(“Complaint”) in the Circuit Court of Cook County, Illinois, styled Jason D. Petty v. Signature

Healthcare Services, LLC d/b/a Aurora-Chicago Lakeshore Hospital, Case No. 2020-CH-04012.

See Class Action Complaint (“Complaint”), attached as Exhibit 1. The Complaint was served on

Signature on July 30, 2020. See Certificate of Service, attached as Exhibit 2. Signature timely

removed the case to this Court under the Class Action Fairness Action (“CAFA”). See Dkt. 1.

       Plaintiff’s Complaint alleges that Signature violated the Illinois Biometric Information

Privacy Act, 740 ILCS § 14/1 et seq., and asserts two separate causes of action:

               (1)     violations of BIPA, 740 ILCS § 14/15(b), for Signature’s
                       alleged failure to obtain informed consent before obtaining
                       Plaintiff’s purported biometric identifiers or biometric
                       information (“First Cause of Action”);

               (2)     violations of BIPA, 740 ILCS § 14/15(a), for Signature’s
                       alleged failure to institute maintain and adhere to a publicly
                       available retention schedule for biometric identifiers or
                       biometric information (“Second Cause of Action”);

Compl. at ¶¶ 42-58, Ex. 1. Plaintiff’s First and Second Causes of Action are premised on the same

underlying operative factual allegations, namely, that “[Signature] was using [a] biometric

fingerprint timeclock when [Plaintiff] began his employment with Defendant in November 2019,

Id. at ¶ 30, “Plaintiff’s only knowledge of the fingerprinting timeclock was the required use while



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clocking in in order to continue his employment with [Signature]” Id. at ¶ 31, and Signature did

not obtain informed consent from Plaintiff before collecting his biometric information, nor did

Signature inform him of its recordkeeping for biometric information. See Id. at ¶¶ 32-33.

       Based on these and other allegations, Plaintiff asserts claims for reckless, or alternatively,

negligent violations of BIPA and seeks declaratory and injunctive relief as well as statutory

damages and attorneys’ fees and costs. Id. at ¶¶ 54, 58; see also id. at pp. 15-16, Prayer for Relief,

subparts a-g. Plaintiff seeks to represent a class of similarly situated individuals comprising:

               All persons who, while residing in Illinois and employed by
               Signature Healthcare Services, LLC, had their fingerprints
               collected, captured, stored, or otherwise used by Signature
               Healthcare Services, LLC during the relevant period of time.

id. at ¶34. BIPA provides for statutory damages in the amount of $5,000 per reckless violation of

BIPA, or $1,000 in damages for each negligent violation of the statute. 740 ILCS § 14/20(1)-(2).

       B.      Plaintiff and Signature’s Binding Agreement to Arbitrate Claims Made
               Against Each Other Arising from Plaintiff’s Employment with Signature

       Signature owns and operates fourteen (14) hospitals throughout the country, including

Aurora-Chicago Lakeshore Hospital (“Chicago Lakeshore”). Declaration of Patricia McClure-

Chessier (“McClure-Chessier Dec.”) at ¶ 3, attached as Exhibit 3. Plaintiff was employed by

Chicago Lakeshore as a Mental Health Worker in its Nursing department from November 4, 2019

through January 30, 2020. Id. at ¶ 7. Plaintiff alleges he used a biometric timeclock when he was

employed at Signature for the entirety of his employment. Compl. at ¶¶ 28-30, Ex. 1.

       On October 31, 2019, Plaintiff elected to agree to the terms of a mutual arbitration

agreement (the “Arbitration Agreement”) presented to him by Chicago Lakeshore in conjunction

with his employment at Chicago Lakeshore. Arbitration Agreement at p. 5, attached as Exhibit 4;

see also McClure-Chessier Dec. at ¶8, Ex. 3. The Arbitration Agreement that Plaintiff executed



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was the standard Agreement presented to all Chicago Lakeshore employees. McClure-Chessier

Dec. at ¶ 6, Ex. 3. On its face, the Arbitration Agreement is both voluntary and mutual. Arbitration

Agreement at p. 1, p. 5, Ex. 4. As such, Plaintiff had the option to decline or accept the terms of

the mutually binding Arbitration Agreement, and accepting the terms of the Arbitration Agreement

was not a condition of Plaintiff’s employment with Chicago Lakeshore. See generally Arbitration

Agreement, Ex. 4. Plaintiff chose the option to accept and agree to the terms of the Arbitration

Agreement, and executed the agreement accordingly. Id. at p. 5.

       Plaintiff and Chicago Lakeshore’s Arbitration Agreement provides, in relevant part:

               [Chicago Lakeshore] and all of its parents, subsidiaries, and related
               entities or corporations (collectively, the “Company”) and [Plaintiff]
               voluntarily agree to the resolution by arbitration of all claims,
               disputes, and/or controversies (collectively “claims”), whether or
               not arising out of [Plaintiff’s] employment or its termination, that
               Company may have against [Plaintiff] or that [Plaintiff] may have
               against Company, its subsidiaries or affiliated entities, or against
               its current or former employees or agents in their capacity.

Id. at p. 1, (emphasis added); see also McClure-Chessier Dec. at ¶ 9, Ex. 3. Signature Healthcare

is the Defendant in this case and encompassed by the definition of “Company” in the arbitration

agreement. McClure-Chessier Dec. at ¶ 9, Ex. 3. The Arbitration Agreement further provides:

               Employee and Company expressly intend and agree that each will
               also forego pursuing any covered dispute on a class, collective, or
               representative basis and will not assert class, collective, or
               representative action claims against the other in arbitration or
               otherwise.

Id. Under the terms of the Arbitration Agreement, Plaintiff agreed that “any question regarding

class or collective arbitrability shall be decided by a court of law and not an arbitrator” Id. , and

that “[e]ither party may bring an action in any court of competent jurisdiction to compel arbitration

under this Agreement ….” Id. at p. 1, p. 3.




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                                      II. JURISDICTION

       This Court has jurisdiction to entertain a motion to compel arbitration pursuant to the

Federal Arbitration Act if this Court otherwise has jurisdiction over the underlying lawsuit but for

the effective arbitration agreement. 9 U.S.C. § 4; see also We Care hair Dev., Inc. v. Engen, 180

F.3d 838, 841 (7th Cir. 1999) (citing Moses v. H. Cone Memorial Hosp., 460 U.S. 1, 25, n. 32

(1983)). As set forth more fully in Signature’s Notice of Removal, this Court has subject matter

jurisdiction over the underlying lawsuit under the Class Action Fairness Act. Moreover, the

Arbitration Agreement explicitly provides that the Court shall resolve any disputes with respect to

it. Arbitration Agreement at p. 1, p.3, Ex 4.

                                   III. LEGAL STANDARD

       A motion to dismiss based on a contractual arbitration clause is properly addressed under

Rule 12(b)(3). Faulkenberg v. CB Tax Franchise Sys., LP, 637 F.3d 801, 808 (7th Cir. 2011); Auto.

Mechs. Local 701 Welfare & Pension Funds v. Vanguard Car Rental USA, Inc., 502 F.3d 740, 746

(7th Cir. 2007); Miller v. Southwest Airlines Co., 2018 WL 4030590, at *6 (N.D. Ill. Aug. 23,

2018) (granting motion to dismiss for improper venue because BIPA claims were preempted by

federal labor law and CBA that contained arbitration clause). In determining whether venue is

proper, this Court “is not obligated to limit its consideration to the pleadings nor to convert the

motion to one for summary judgment.” Cont’l Cas. Co. v. Am. Nat. Ins. Co., 417 F.3d 727, 733

(7th Cir. 2005).

       It is well established that the Federal Arbitration Act establishes a “‘liberal federal policy

favoring arbitration agreements.’” Epic Sys. Corp. v. Lewis, 138 S. Ct. 1612, 1621 (2018). Absent

a clear statutory exemption to the arbitrability of a plaintiff’s claim, courts must “respect and

enforce agreements to arbitrate.” Id. ; KPMG LLP v. Cocchi, 565 U.S. 18, 21 (2011) (“The Act



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reflects an ‘emphatic federal policy in favor of arbitral dispute resolution.’”) (quoting Mitsubishi

Motors Corp. v. Soler Chrysler-Plymouth, Inc., 473 U.S. 614, 631 (1985)); AT&T Mobility LLC

v. Concepcion, 563 U.S. 333, 345 (2001) (“[O]ur cases place it beyond dispute that the FAA was

designed to promote arbitration.”); Buckeye Check Cashing, Inc. v. Cardegna, 546 U.S. 440, 443

(2006) (“[The Act] embodies the national policy favoring arbitration and places arbitration

agreements on equal footing with all other contracts.”). The preference for honoring arbitration

agreements requires courts to “rigorously enforce” valid arbitration agreements. Epic Sys. Corp.,

138 S. Ct. at 1621; see also Gilmer v. Interstate/Johnson Lane Corp., 500 U.S. 20, 24 (1991).

       Where an arbitration agreement exists, “the standard for compelling arbitration is low,”

Mark v. Portfolio Recovery Assoc., LLC, 2015 WL 1910527, at *2 (N.D. Ill. Apr. 27, 2015), such

that any doubts concerning the arbitrability of a claim must be resolved in favor of arbitration.

Moses H Cone Mem. Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 24–25 (1983). A party seeking

to compel arbitration need only show an agreement to arbitrate, a dispute within the scope of the

arbitration agreement, and the opposing party’s refusal to arbitrate. Mark, 2015 WL 1910527 at

*2. It is proper to enforce a contractual arbitration clause through a Rule 12(b)(3) motion to dismiss

for improper venue. Faulkenberg, 637 F.3d at 807.

                                        IV. ARGUMENT

       A.      Signature and Plaintiff’s Arbitration Agreement is a Binding and
               Enforceable Contract and Plaintiff Should Be Compelled to Abide by Its
               Terms.

       This Court should grant Signature’s motion to dismiss and compel arbitration because

Plaintiff and Signature executed a binding and enforceable Arbitration Agreement that covers the

claims made in his Complaint. A valid contract to arbitrate is sufficient to mandate arbitration of

claims. Tortoriello v. Gerald Nissan of N. Aurora, Inc., 379 Ill.App.3d 214, 216 (2008). Like any



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valid contract, a legitimate agreement to arbitrate requires an offer, an acceptance, and

consideration. Equistar Chems., LP v. Hartford Steam Boiler Inspection & Ins. Co., 379 Ill.App.3d

771, 773 (2008). Consideration is defined as some right, interest, profit, or benefit accruing to one

party, or some forbearance, disadvantage, detriment, loss or responsibility given, suffered, or

undertaken by the other. De Fontaine v. Passalino, 222 Ill.App.3d 1018 (2d Dist. 1991). The

parties to a contract need not have identical rights and obligations. Tortoriello, 379 Ill.App.3d at

216.

        The essential component of consideration is bargained for exchanged of promises or

performances, and any act or promise that is a benefit to one party or a disadvantage to the other

is sufficient consideration to support a contract. Garber v. Harris Tr. & Sav. Bank, 104 Ill.App.3d

675 (1st Dist. 1982); De Fontaine, 222 Ill.App.3d 1018. As a matter of law, a mutual promise to

arbitrate alone is sufficient consideration to support an agreement to arbitrate. Bishop v. We Care

Hair Dev. Corp., 316 Ill.App.3d 1182, 1185 (1st Dist. 2000); see also OTO, LLC v. Kho, 8 Cal.

5th 111, 155 (2019) (“In this case, [the plaintiff’s] promise to arbitrate its disputes with [the

defendant] and to forego its right to judicial determination of those disputes – including the right

to a jury trial – provided consideration for the agreement, as did [the defendant’s] similar

promise.”) (internal quotations and alterations omitted)).

        Here, there was a valid agreement to arbitrate supported by consideration, as there was a

mutual agreement to arbitrate claims. See Arbitration Agreement at p. 1 (“Company and [Plaintiff]

voluntarily agree to the resolution by arbitration of all claims, disputes, and or controversies …

that the Company may have against Employee or that Employ may have against Company …”).

Specifically, the Arbitration Agreement is styled as a “Mutual Agreement to Arbitrate.” Id.

Further, the Arbitration Agreement was not a condition of Plaintiff’s employment with Chicago



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Lakeshore, as the Arbitration Agreement, on its face, states that said agreement is voluntary. Id.

Upon his review of the Agreement’s terms, Plaintiff elected to agree to the terms, and executed

the Agreement accordingly. Id.

       This is the exact mutual exchange of promises that is sufficient to find a valid agreement

to arbitration. See Bishop, 316 Ill.App.3d at 1198 (“[A] mutual promise to arbitrate is sufficient

consideration to support an agreement to arbitrate.”); OTO, LLC, 8 Cal. 5th at 155 (holding that a

mutual agreement to arbitrate was sufficient consideration). Moreover, employment with Chicago

Lakeshore is additional consideration. Accordingly, the Arbitration Agreement is supported by

valuable and valid consideration, and is therefore enforceable.

       B.      Plaintiff’s Claims Made in the Complaint Are Arbitrable Because They Arise
               Out Of His Employment With Chicago Lakeshore, And BIPA Is A
               “Statutory Claim” Covered By The Agreement

       “[W]hether a claim falls within the scope of an arbitration agreement turns on the factual

allegations in the complaint.” I-Link Inc. v. Red Cube Int’l AG, 2001 U.S. Dist. LEXIS 1606. The

claims asserted in this action, all arising out of Plaintiff’s employment, are clearly covered by the

Arbitration Agreement. As described in the Agreement, Plaintiff and Chicago Lakeshore agreed

to arbitrate any claim “whether or not arising out of [Plaintiff’s] employment or its termination]

….” Plaintiff alleges that “[Signature] was using [a] biometric fingerprint timeclock system when

[Plaintiff] began his employment with [Signature] in November 2019,” Compl. at ¶ 30, and that

Plaintiff was required to use the fingerprinting timeclock while clocking in “in order to continue

his employment with [Signature].” Id. at ¶ 30. This is Plaintiff’s operative factual allegation from

which both of his causes of action under BIPA flow—that but for Signature’s requirement that he

clock in and out of work using a biometric timeclock (without first obtaining his consent),

Plaintiff’s rights under BIPA would not have been violated. The Arbitration Agreement explicitly



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provides that claims arising under an alleged statutory violations, such as the causes of action

under Illinois’s BIPA statute filed by the Plaintiff, are to be resolved via arbitration. Arbitration

Agreement, p. 1, Ex. 4 (“The claims covered by this Arbitration Agreement include … claims for

violation of any federal, state, or other governmental law, statute regulation or ordinance ….”).

       This exemplifies the type of arbitrable claim contemplated under the Arbitration

Agreement that Plaintiff executed, and thus the Court should compel Plaintiff to arbitrate his BIPA

claims as made in the Complaint. See Miracle-Pond v. Shutterfly, Inc., No. 19-CV-4722, 2020

U.S. Dist. LEXIS 86083, at *20 (N.D. Ill. May 15, 2020) (granting motion to compel arbitration

of claims arising under BIPA where the plaintiff “entered into a valid arbitration agreement”).

Accordingly, Plaintiff has asserted an arbitrable claim, and this Court should compel Plaintiff to

arbitrate his individual claims made in his Complaint.

       C.      Plaintiff Violated the Terms of the Arbitration Agreement by Filing Suit in
               Court, and The Terms of the Agreement Provide that this Court May
               Interpret and Enforce the Terms.

       Here, the Arbitration Agreement provides that the “Company and [Plaintiff] voluntarily

agree to the resolution by arbitration of all claims, disputes, and or controversies … that the

Company may have against Employee or that Employ may have against Company …” Arbitration

Agreement at p. 1, Ex. 4. Further, with respect to Class and Representative Actions,

               [Plaintiff] and Company expressly intend and agree that each will
               also forego pursuing any covered dispute on a class, collective, or
               representative basis and will not assert class, collective or
               representative claims against the other in arbitration or otherwise …
               [Plaintiff] and Company shall submit their own, individual claim in
               arbitration, and shall be entitled to seek dismissal of such class,
               collective, or representative claims and otherwise assert this
               Agreement as a defense in any proceeding.

Id. Further, the Arbitration Agreement provides that “either party may bring an action in any court

of competent jurisdiction to compel arbitration under this Agreement” and that “[Plaintiff] and

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Company shall be entitled to seek dismissal of any such class, collective, or representative claims

and otherwise assert this Agreement as a defense in any proceeding.” Id. at p. 1, p. 5. Plaintiff

thus violated the terms of the Arbitration Agreement when he filed his Complaint in state court on

April 29, 2020, and this Court has authority under the terms of the Agreement to enforce it.

Signature thus requests that the Court exercise its authority to enforce the terms of Plaintiff and

Chicago Lakeshore’s Arbitration Agreement in accordance with the clear policy of the FAA

favoring arbitration, dismiss Plaintiff’s Complaint with prejudice, and compel him to proceed with

arbitration for the claims made in the underlying lawsuit. The Court also should declare, pursuant

to the agreement of the parties, that Plaintiff cannot proceed with a class, collective or

representative action in any forum.

                                           V. CONCLUSION

        The parties entered into a mutually binding, enforceable Arbitration Agreement that covers

the BIPA claims alleged Plaintiff’s Class Action Complaint, all of which arose from Plaintiff’s

employment. Plaintiff violated the clear terms of this Agreement by filing a lawsuit. Based on

applicable law and the clear terms of the Arbitration Agreement, this Court has authority to enforce

the terms of the Arbitration Agreement and should do so by dismissing Plaintiff’s Complaint in its

entirety with prejudice, or, in the alternative, compel Plaintiff to proceed to arbitration, declare,

that Plaintiff cannot proceed with a class, collective or representative action in any forum and grant

such other relief as is just and proper.

 Dated: August 29, 2020                            Respectfully submitted,




                                                   Mary A. Smigielski
                                                   Michael J. Roman

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                                    Certificate of Service

       The undersigned attorney certifies that on August 28, 2020, he caused to be served the
foregoing document with the Clerk of the Court for the Northern District of Illinois using the
Court’s CM/ECF, and that he served true and correct copies of the filed document by email to
counsel listed below.


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                                                             /s/ Michael J. Roman




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